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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                               )
GORDON SCHIFF and                              )
CELESTE ROYCE,                                 )
                                               )
        Plaintiffs,                            )
                                               )
v.                                             )       Civil No. 25-10595-LTS
                                               )
U.S. OFFICE OF PERSONNEL                       )
MANAGEMENT et al.,                             )
                                               )
        Defendants.                            )
                                               )

                                  PRELIMINARY INJUNCTION

                                           May 23, 2025

SOROKIN, J.

        For the reasons set forth in the Order issued today, Doc. No. 43, the plaintiffs’ motion for

a preliminary injunction (Doc. No. 25) is ALLOWED in part. As explained in the Order, the

plaintiffs have standing to pursue their claims, and the Court has subject-matter jurisdiction.

They have also demonstrated that each factor governing their request for preliminary injunctive

relief weighs strongly in their favor. The plaintiffs are likely to succeed on the merits of their

claims under the First Amendment and the Administrative Procedure Act, they have suffered

irreparable harm and will continue to suffer it in the absence of relief, the balance of harms tips

decisively in their favor, and the public interest favors an injunction.

        Accordingly, pursuant to Federal Rule of Civil Procedure 65(a), this Court ORDERS as

follows:

     1. Within seven days, the defendants shall restore to PSNet complete, unaltered versions of:

        Dr. Schiff’s commentary on suicide risk; Dr. Royce’s commentary on endometriosis; and
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   all other content authored by private parties that was removed from PSNet pursuant to the

   defendants’ implementation of Executive Order No. 14,168.

2. No security under Federal Rule of Civil Procedure 65(c) is necessary or warranted in the

   circumstances of this case, where the plaintiffs seek to vindicate an important

   constitutional and federal statutory right, and the injunction will not expose the

   defendants to financial loss. See da Silva Medeiros v. Martin, 458 F. Supp. 3d 122, 130

   (D.R.I. May 1, 2020) (citing Crowley v. Loc. No. 82, 679 F.2d 978, 1000-01 (1st Cir.

   1982)).

3. This preliminary injunction shall take effect immediately upon the docketing of this

   Order and shall remain in effect until the entry of judgment in this matter, unless this

   Court, the United States Court of Appeals for the First Circuit, or the United States

   Supreme Court orders otherwise.


                                                 SO ORDERED.


                                                  /s/ Leo T. Sorokin
                                                 United States District Judge




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